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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION


In re:                                                CASE NO. 9:17-bk-00426-FMD

FRANZ JOSEF ROSINUS,                                  CHAPTER 7

                Debtor.
                                              /

                  TRUSTEE’S LIMITED RESPONSE TO
   PHIL ANDERSON HOLDINGS (II), INC.’S MOTION FOR RELIEF FROM STAY

         LUIS E. RIVERA II (the “Trustee”), as Chapter 7 Trustee of the bankruptcy estate of

Franz Josef Rosinus (the “Debtor”), by counsel, files this Limited Response to Phil Anderson

Holdings (II), Inc.’s (“PAH”) Amended Motion to Determine that the Automatic Stay is not

Applicable, or Alternatively, for Relief from Automatic Stay (Doc. 176) (the “Motion”).

         1.     The Motion seeks relief from stay so that PAH may pursue claims against non-

debtor third parties that apparently received funds in violation of pre-petition state court

Charging Orders, which PAH obtained as part of its collection efforts against the Debtor.

         2.     The Motion does not identify the specific targets that PAH intends to pursue if the

Motion is granted (though it does identify the various corporate entities that are the subject of the

Charging Orders). Without additional information, the Trustee cannot determine the estate’s

rights with respect to these claims, or evaluate whether the claims that PAH is seeking leave to

pursue are property of the estate or within the exclusive province of the Trustee to pursue under

11 U.S.C. §544 or otherwise.

         3.     That said, PAH represents in the Motion that it is seeking to pursue the claims at

issue without prejudice to the Trustee’s ability to assert an interest in the claims, and that PAH is

willing to hold any funds obtained in connection with the claims in escrow pending
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determination by this Court as to entitlement to the proceeds. The Trustee’s undersigned counsel

has conferred with counsel for PAH regarding the Motion and confirmed that PAH does not

object to entry of an Order to the foregoing effect.

       4.      The Trustee has no objection to PAH obtaining relief from stay for the limited

purposes stated in the Motion, provided that the Order granting stay relief requires, consistent

with the Motion, that (a) none of the estate’s rights (if any) in the claims at issue are prejudiced

by the lifting of the stay or any of PAH’s state court activity, and (b) any funds obtained in

connection with PAH’s state court efforts will be held in trust by PAH’s counsel pending further

Order from this Court as to the estate’s (or any other interested parties’) rights and interests in

the recovered funds.

       5.      Additionally, the Trustee requests that relief from stay be conditioned on PAH’s

identifying to the Trustee the specific third party targets and claims at issue, so that the Trustee

can evaluate the estate’s potential rights, if any, with respect to those claims.

       6.      Trustee’s counsel anticipates based on PAH’s representations in the Motion, and

based on his conference with counsel for PAH, that the parties will be able to resolve these

matters without the need for a hearing and submit an agreed form of order to the Court. The

Trustee submits this limited response only to preserve the estate’s rights and interests respecting

the claims in accordance with Local Rule 2002-4 in the event that an agreed form of order cannot

be reached.

   Dated: June 19, 2018.                       Respectfully submitted,

                                               GENOVESE JOBLOVE & BATTISTA, P.A.
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                                              By:    /s/ Michael A. Friedman
                                                     Michael A. Friedman, Esq. (FBN 71828)
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 19, 2018, I electronically filed the foregoing

Trustee’s Limited Response to Phil Anderson Holdings (II), Inc.’s Motion For Relief From Stay

with the Clerk of the Court using the CM/ECF System. The electronic case filing system sent a

“Notice of Electronic Filing” to the attorneys of record who have consented in writing to accept

this notice as service of this document by electronic means and a copy was also forwarded via

first class mail to all parties identified on the attached Service List who are not registered users

of the Court’s CM/ECF system.

                                              By:/s/ Michael Friedman
                                                 Michael Friedman.

                                         SERVICE LIST

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Sent Via U.S. Mail
All parties on the attached mailing matrix.



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                             Case 9:17-bk-00426-FMD
Label Matrix for local noticing              BMO Harris Bank,Doc
                                                              N.A. 180 Filed 06/19/18   Page   6 of
                                                                                        Catherine A. 9
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Tue Jun 19 16:57:59 EDT 2018
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                                             Mike Bruce     Doc 180         Filed 06/19/18   Page
                                                                                             Monika 8 of 9
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                                                Vincenzo VeduciDoc 180                Filed 06/19/18      Page   9 ofFINANCIAL
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                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


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(u)Lake Juliana Holdings, LLC                         (u)Lighthouse Capital II, LLC                        (u)Mayak, LLC




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